           Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 1 of 20




WEISBERG LAW                                    SCHAFKOPFLAW,LLC
Matthew B. Weisberg                             Gary Schafkopf
Attorney ID No. 85570                           Attorney ID No. 83362
L. Anthony DiJiacomo, III                       11 Bala Ave
Attorney ID No. 321356                          Bala Cynwyd, PA 19004
7 South Morton Ave. 19070                       610-664-5200 Ext 104
Morton, PA                                      Fax: 888-238-1334
610-690-0801                                    Attorney for Plaintiff
Fax: 610-690-0880
Attorneys for Plaintiff

MILDENBERG LAW FIRM
Brian R. Mildenberg
Attorney ID No. 84861
1735 Market Street, Ste. 3750
Philadelphia, PA 19103
Attorney for Plaintiff

                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA

LATASHA STEVENS
8110 Lindberg Blvd
Philadelphia, PA 19153
                                                             L/'iS~
                       Plaintiff,               No.:   2:17-cv-~-JD


                  v.

CITY OF PHILADELPHIA d/b/a                      JURY TRIAL OF TWELVE (12)
PHILADELPHIA POLICE DEPART.                     JURORS DEMANDED
1515 Arch St, 17th Floor
Philadelphia, PA 19102

       And

INSPECTOR AL TOVISE LOVE-
CRAIGHEAD
In her individual and official capacity as an
officer for the Philadelphia Police Depart.
401 N 2ist Street
Philadelphia, PA 1913 0

       And
           Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 2 of 20



LT. KENORA SCOTT
In her individual and official capacity as an
officer for the Philadelphia Police Depart.
39th St and Lancaster Ave.
Philadelphia, PA 19104

        And

CAPTIN JARREAU THOMAS
In his individual and official capacity as an
officer for the Philadelphia Police Depart.
39th St and Lancaster Ave.
Philadelphia, PA 19104

        And

JOHN DOES, 1-10

                       Defendants.


                                     FIRST AMENDED
                                CIVIL ACTION COMPLAINT

I.     INTRODUCTION

       Plaintiff, LaTasha Stevens, by and through her undersigned attorneys, brings this

action against her employer, the City of Philadelphia ("Defendant") and its agents who were

specifically involved, Inspector Altovise Love-Craighead, Lt. Kenora Scott, Captain Jarreau

Thomas (collectively, "Defendants"). Plaintiff is a highly regarded veteran with Defendant's

Police Department. Plaintiff has endured systemic retaliation by Defendants, who are her

supervisors, due to her assisting a fellow officer in filing a formal complaint against a Police

Sergeant who had been sexually harassing her.

II.    PARTIES

1.     Plaintiff, LaTasha Stevens is an individual residing at the above captioned address and

citizen of Pennsylvania.
           Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 3 of 20



2.      Defendant, City of Philadelphia, doing business as the Philadelphia Police Department, is

a government agency doing business at the above captioned address.

3.      Defendant Altovise Love-Craighead, is an adult individual who, at all times material

herein, acted individually, as well as in her individual capacity as an agent, servant, workman, or

employee of, the Philadelphia Police Department acting under color of State law as Captain for

the 16th District and currently as an Inspector for the Central Division.

4.     Defendant, Kenora Scott, is an adult individual who, at all times material herein, acted

individually, as well as in her individual capacity as an agent, servant, workman, or employee of,

the Philadelphia Police Department acting under color of State law as a Lt. for the 16th District.

5.     Defendant Jarreau Thomas, is an adult individual who, at all times material herein, acted

individually, as well as in his individual capacity as an agent, servant, workman, or employee of,

the Philadelphia Police Department acting under color of State law as a Captain of the 16th District.

6.     Defendants, John Does 1-10, is a moniker/fictitious name for individuals and entities

currently unknown but will be substituted when known, as affiliated, associated or liable hereunder

for the reasons set forth below or inferred therefrom. Each of these parties are incorporated as

Defendants in each and every count and averment listed above and below.

Ill.   JURISDICTION    &   VENUE


7.     The causes of action which form the basis of this matter arise under Title VII, Section 1983,

the PHRA, and the PFPO.

8.     The District Court has jurisdiction over Count I (Title VII) pursuant to 42 U.S.C. §2000e-

5 and 28 U.S.C. § 1331.

9.     The District Court has jurisdiction over Count II (Section 1983) pursuant to 28 U.S.C.

§1331and28 U.S.C. §1333.
           Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 4 of 20



10.     The District Court has supplemental jurisdiction over Count III (PHRA) pursuant to 28

U.S.C. §1367.

11.     The District Court has supplemental jurisdiction over Count IV (PFPO) pursuant to 28

u.s.c. §1367.
12.     Venue is proper in the District Court under 28 U.S.C. §1391(b) and 42 U.S.C. §2000(e)-

5(f).

13.     All conditions precedent, including the EEOC Right to Sue, have been satisfied; the EEOC

issued a right to sue letter on or about August 1, 2017.

IV.     OPERATIVE FACTS

14.     Plaintiff, LaTasha Stevens, is a Philadelphia Police Platoon Sergeant for the 16th District

in Southwest Philadelphia.

15.     Prior to the retaliation described below, Plaintiff was a highly-regarded, career officer

who was renowned for performing her job duties "by the book." Prior to receiving her 2016

employee assessment, Plaintiff received high praise from her supervisors in her annual reviews,

which included statements such as:

                •      "You are definitely an asset to any platoon." 2010 Annual
                       Review;

                •      "You have developed a good working relationship with
                       your subordinate officers. You have a good combination of
                       technical and people skills. Keep up the excellent work."
                       2013 Annual Review;

                •      You have proven that you possess the necessary leadership
                       skills that are needed to be a successful supervisor." 2013
                       Annual Review;

                •      "You have proven to be an asset, as well a [sic] committed
                       supervisor, who has demonstrated reliability and
                       dependable [sic]. Your motivation and drive is excellence
                       [sic] and should be copied by others. You get along well
            Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 5 of 20



                        with myself and other supervisors and officers ... It is a
                        pleasure to work with you." 2014 Annual Review.

16.     However, Plaintiffs employee reviews drastically changed in retaliation of the

underlying event.

                                     UNDERLYING EVENT

17.     On or about January 27, 2016, Plaintiff received phone call from non-party, Officer

Jessica Roseberry, also from the 16th District.

18.     Officer Roseberry, began to confide in Plaintiff that she was being sexually harassed by

non-party, Sergeant Yusef Copper also of the 16th District.

19.     Officer Roseberry alleged that Sgt. Cooper had once asked her if she was wearing a vest

because her "titties were big". On another occasion, Sgt. Cooper knocked on the ladies' locker

room door and attempted to enter-purportedly to give Officer Roseberry an assignment. On

other occasions, Sgt. Cooper made Officer Roseberry uncomfortable by suggestively questioning

who was picking Officer Roseberry up after work, among other improper incidents between the

two officers.

20.     Prior to receiving the January 27, 2016 phone call, Plaintiff had very little interaction

with Officer Roseberry aside from cordial conversations in passing while working in the 16th

District.

21.     The Philadelphia Police Department Office of Professional Responsibility ("OPR") is the

central control agency and repository in all cases involving Equal Employment Opportunity

("EEO") related complaints.

22.     Per Directive 8. 7-5 §4J "Supervisors who become aware of an EEO complaint from any

source must report this to the Office of Professional Responsibility regardless of whether the

complainant desires to pursue the complaint." (emphasis added).
           Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 6 of 20



23.     Plaintiff advised Officer Roseberry that given the nature of Sgt. Cooper's actions she

must file a report with the OPR.

24.     Officer Roseberry did not want Plaintiff to report the incident to the OPR due to fear of

some type of retaliation from Sgt. Cooper's brother who is also a high-ranking Philadelphia

Police Officer.

25.    Nonetheless, in conformance with Directive 8.7-5 §4J, on or about January 27, 2016

Plaintiff filed a formal notice with the Office of Professional Responsibility.

26.    On February 5, 2016 Plaintiff provided a formal statement regarding her conversation

with Officer Roseberry to the Philadelphia Police Internal Affairs Division.

27.    Critically, Officer Roseberry had informed Defendant, Captain, now Inspector, Altovise

Love-Craighead and Defendant, Lt. Kenora Scott of Sgt. Cooper's actions.

28.    Upon information and belief, Defendant, Love-Craighead and Defendant, Scott were

aware of and trained on Directive 8.7-5 §4J.

29.    However, in violation of Directive 8.7-5 §4J, Defendant, Love-Craighead did not

complete a EEO complaint despite knowledge of Sgt. Cooper's actions.

30.    Likewise, in violation of Directive 8.7-5 §4J, Defendant, Scott did not complete a EEO

complaint despite knowledge of Sgt. Cooper's actions.

31.    Upon information and belief, Defendants failure to act in conformity with Directive 8.7-5

§4J resulted in review of Defendants' actions by Internal Affairs.

                                        RETALIATION

32.    Following Plaintiffs report in conformance with Directive 8.7-5 §4J, Plaintiff was

approached by her supervisor, non-party, Lt. Beverly Pembrook, who chastised Plaintiff for

making the EEO complaint in conformance with Directive 8.7-5 §4J.
            Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 7 of 20



33.     Lt. Pembrook told Plaintiff that she should have made the report up the chain of

command, rather than following Directive 8.7-5 §4J.

34.     Lt. Pembrook told Plaintiff that Defendant, Love-Craighead had confronted and chastised

Lt. Pembrook for Plaintiff following Directive 8.7-5 §4J, rather than allowing Defendant,

Captain, now Inspector Love-Craighead to handle the matter.

35.     Following the EEO report, Defendants, Love-Craighead and Scott began taking

retaliatory actions towards Plaintiff

36.     Plaintiff believes, and therefore avers, that Defendant, Love-Craighead systematically

slandered and continues to systematically slander Plaintiff to her fellow Philadelphia police

officers, both inside and outside of the 16th District, to Plaintiffs career detriment.

37.     Plaintiff believes, and therefore avers, that Defendant, Scott has systematically slandered

and continues to systematically slander Plaintiff to her fellow Philadelphia police officers, both

inside and outside of the 16th District, to Plaintiffs career detriment.

38.     Prior to the confrontation with Lt. Pembrook concerning Defendant, Love-Craighead

outrage, fellow officers had a "good working relationship" with Plaintiff.

39.     However, since the confrontation with Lt. Pembrook concerning Defendant, Love-

Craighead outrage, fellow officers increasingly treat Plaintiff with suspicion and distance that

was never there before.

40.    In an effort to escape the negative environment created by Defendants in the 16th District,

on or about April 1, 2016, Plaintiff requested a transfer to the 1st District, which was closer to her

home and was the District she began her career in as a Philadelphia Police Officer.

41.    Department policy requires an officer to submit their request to their Captain to

determine if they are approved for an interview with the Captain of the district they wish to
              Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 8 of 20



transfer to. If approved for an interview, the officer will interview with the Captain of the district

they wish to transfer to and a decision will then be made by the Captain of the transferring

district if he/she approves of the transfer.

42.     On or about April 1, 2016, Plaintiff submitted her request in writing as required to her the

commanding officer, Defendant, Love-Craighead.

43.     Defendant, Love-Craighead approved the requests allowing the request to move onto the

next stage.

44.     However, Plaintiff believes, and therefore avers, that Defendant, Love-Craighead

informally told non-party, 1st District Captain, Captain Francis, that Plaintiff was not a "team-

player" and would "follow the book."

45.    Upon information and belief, Defendant, Love-Craighead and Captain Francis are close,

personal friends who improperly exchange information regarding fellow officers in an effort to

ensure their District is comprised of "team-players." However, Plaintiff was unaware of this

when she submitted her request for transfer to the 1st District.

46.    Captain Francis' office called and arranged a 4pm interview in May 2016.

47.    However, upon Plaintiffs arrival at the interview, Captain Francis was not present and

her office claimed not to have knowledge of the interview.

48.    After waiting for more than an hour, Captain Francis showed up. It became obvious that

Captain Francis was aware of the interview appointment.

49.    During the interview, Captain Francis was aggressive and hostile towards Plaintiff.

50.    At one point, Captain Francis asked Plaintiff why she was requesting a transfer.

51.    Plaintiff responded that she wanted the transfer because the 1st District was closer to her

home and was where she began her career as a Philadelphia Police Officer. Despite these being
            Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 9 of 20



 common and well-accepted reasons for such a transfer, Captain Francis demanded a different

answer.

52.     Plaintiff again told Captain Francis that she wanted the transfer because the        1st   District

was closer to her home and was where she began her career as a Philadelphia Police Officer.

Again, despite these being common and well-accepted reasons for such a transfer, Captain

Francis demanded a different answer.

53.     Feeling cornered, Plaintiff admitted that she was seeking the transfer because she wanted

a change. Unimpressed with such a non-controversial response, Captain Francis again demanded

a full explanation.

54.     Finally, Plaintiff admitted that she was unhappy at the 16th District, though she did not

explain the foregoing. In response, Captain Francis said, "That's what I thought", making subtle

reference to prior knowledge of the foregoing.

55.     Captain Francis then began to ask Plaintiff"Have you asked anyone about me? Because

you might be jumping from the frying pan to the fire."

56.     Plaintiff had not asked anyone about Captain Francis, instead, believing at the time that

Captain Francis would give Plaintiff a fair shake and not understanding the full influence and

reach of Defendants.

57.    The Plaintiff concluded the interview and returned to the 16th District confused.

58.    However, after speaking with fellow officers, Plaintiff learned that Defendant, Love-

Craighead and Captain Francis are close friends in and outside of work and that both seek ''team

players".

59.    Understanding that Plaintiff would be transferring from one bad environment to another,

Plaintiff withdrew her request to be transferred to the   1st   District. Instead, Plaintiff decided to
           Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 10 of 20



 stick it out in the 16th District in an attempt to once-again-prove she was an excellent officer,

supervisor, and leader - just as her supervisors had described her prior to the EEO complaint.

60.     Plaintiff believes, and therefore avers that Defendant, Love-Craighead wanted to keep

Plaintiff in the 16th District in order to make her work conditions significantly difficult in order

to cause Plaintiff to resign her position as an officer.

61.     Philadelphia Police Department has a practice of requesting officers to perform a sick

check on fellow police officers who called out sick from duty to ensure the officers are actually

sick and not simply skipping work. Such sick checks, in practice, only occur during the shift that

the officer had called out of.

62.     However, in practice, the Department does not perform sick-checks on supervisors or

higher officers of the Department; i.e. Plaintiff was not subjected to such practices.

63.     Nonetheless, following the Plaintiffs report, Defendant, Love-Craighead noted that

Plaintiff was out sick on February 25-26, 2016 and ordered sick checks on Plaintiff- even

though she was a Sargent I Supervisor. In fact, Defendant, Love-Craighead ordered the sick

check to occur on every shift that occurred during February 25-26, 2016.

64.     However, on February 25, 2016, other officers, who called out as sick, were not checked

on.

65.     On April 22, 2016, Plaintiff was again sick and called out of work. Again, Defendant,

Love-Craighead ordered officers to perform a sick check on Plaintiff on every shift that occurred

during April 22, 2016.

66.    However, on April 22, 2016, other officers, who called out as sick, were not checked on

around-the-clock.

67.    Plaintiff believes, and therefore avers that Defendant, Love-Craighead has not required
            Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 11 of 20



 sick checks, let alone sick checks around-the-clock, on Plaintiffs fellow, male supervisors in the

 16th District.

68.      Prior to Plaintiffs EEO complaint, Defendant, Love-Craighead had never ordered

around-the-clock sick checks on Plaintiff.

69.      Plaintiff believes, and therefore avers, that Defendant, Love-Craighead ordered the

around-the-clock sick checks on Plaintiff in order to establish pre-tense for a serious reprimand

and/or termination.

70.      Plaintiff also has been denied use of her vacation time on several occasions despite the

complying with 16th District practices.

71.     The 16th District practice, concerning approval of vacation time, is to approve an officer's

request for vacation time if: (a) the officer has accrued vacation hours; and (b) there is adequate

coverage of officers and supervisors on the day requested.

72.     On March 28, 2016, Plaintiff requested vacation for June 11-14, 2016. Plaintiff has

sufficient accrued vacations hours and there was adequate coverage of officers and supervisors.

However, the vacation was denied on the basis that Plaintiff had sufficient vacation already.

Plaintiff is not aware of this rationale being used in any other denial.

73.     On August 5, 2016, Plaintiff requested vacation for August 21, 2016. Plaintiff has

sufficient accrued vacations hours and there was adequate coverage of officers and supervisors.

However, Plaintiff did not even receive a response to the written request.

74.     Ongoing denials of Plaintiffs vacation requests is a denial of Plaintiffs earned benefits.

75.     Despite excellent reviews from her supervisors prior to her EEO complaint, Plaintiff has

received "unsatisfactory" reviews since she filed the EEO complaint. For example, Plaintiffs

2017 annual review for the prior year stated in part, "[s]he is not a team player and fosters an
             Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 12 of 20



inauspicious work environment amongst her peers and subordinates." The review was written by

Defendant, Scott.

76.      Plaintiff believes, and therefore avers, that Plaintiffs false and unfounded annual review

was caused by Defendant, Love-Craighead in retaliation for Plaintiffs EEO Complaint which

brought Internal Affairs attention to Defendants.

77.      Defendants have also falsely claimed that Plaintiff was not performing her administrative

duties correctly leading to mistakes being made under Plaintiffs command.

78.      For example, on April 21, 2016, Defendant, Scott accused Plaintiff of directing officers

to go home after finishing court on April 21, 2016, thereby allowing the officers to steal time

from the City.

79.      However, after Plaintiff was called into Defendant, Love-Craighead office to be

reprimanded, Plaintiff pointed out that each officer was in the building, not home.

80.      Plaintiff believes, and therefore avers, that Defendant, Scott manufactured the allegations

in an attempt to create a pre-tense in order to seriously reprimand or terminate Plaintiff.

81.     After Defendant, Love-Craighead was promoted to Inspector, Defendant, Captain Jareau

Thomas became the commanding officer of the 16th District.

82.     After receiving the "unsatisfactory" review, written by Defendant, Scott in Spring 2017,

Plaintiff requested a meeting with Defendant, Thomas regarding the unfounded review.

83.     As a result of the meeting, Defendant, Thomas directed Lt. Davis to perform a 3-month

evaluation because Defendant, Scott refused to change her unfounded, unsatisfactory reviews of

Plaintiff.

84.     In or about July 2017, Plaintiff attended a mediation with Defendant, Scott in an effort to

resolve the ongoing issues.
           Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 13 of 20



 85.    In or about October 2017, Plaintiff was advised by her supervisor Lt. Davis that the

Department's solution was for Defendant, Scott and Plaintiff not to speak - however, such a

solution was impossible given that Defendant, Scott is one of Plaintiffs supervisors.

86.     On or about October 26, 2017, Plaintiff was advised by Lt. Davis that Plaintiffs

immediate request to move to another Platoon in order not to have to work with Defendant, Scott

was denied by Defendant, Thomas.

87.     On or about January 31, 2018, while Plaintiff was in the women's locker room, taking a

personal break because she did not feel well (in accordance with policy and practice), Plaintiff

was reviewing and completing patrol logs.

88.     Unbeknownst to Plaintiff, Defendant, Scott entered the women's locker room and

videotaped Plaintiff. Defendant, Scott then showed the video to Defendant, Thomas.

89.     Later, on or about January 31, 2018, Plaintiff was called into Lt. Davis' officer and

questioned why Plaintiff was "studying" in the locker room. Lt. Davis told Plaintiff that

Defendant, Scott had reported her.

90.     Plaintiff explained the foregoing to Lt. Davis - Plaintiff was not studying, but performing

work despite taking a person break in conformance with policy and practice.

91.    As a result, Lt. Davis called Defendant, Captain Thomas to provide Plaintiffs reasonable

explanation of events - while Plaintiff remained in the room. Plaintiff could hear Defendant,

Thomas screaming at Lt. Davis, though Plaintiff could not make out the words.

92.    After hanging up the phone, Lt. Davis informed Plaintiff that Defendant, Thomas

"doesn't want to speak to you ... he doesn't want to hear it." Lt. Davis went on to say that

Plaintiff had to be careful. Lt. Davis told Plaintiff that Defendant, Thomas had said "disciplinary

action will be taken next time."
            Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 14 of 20



 93.     In fact, Lt. Davis told Plaintiff that, despite being told not to tell her, that Defendant,

 Scott had videotaped Plaintiff in the women's locker room.

94.      Plaintiff believes, and therefore avers, that Defendant, Thomas and Defendant, Scott

knew that Plaintiff was not studying, but wanted to create a pretense for a serious reprimand

and/or termination due to the ongoing lawsuit and the EEO complaint.

95.      Plaintiff felt violated and humiliated that she was videotaped while in the privacy of the

women's locker room.

96.     It is a violation of the Commonwealth of Pennsylvania's laws and public policy to

videotape an individual, unbeknownst to that individual in such a private setting.

97.     Plaintiff avers that the retaliatory actions taken against Plaintiff after she assisted a fellow

officer in filing a sexual harassment complaint would have discouraged a reasonable employee

from complaining of sexual harassment.

98.     The retaliatory conduct of Defendants', as alleged herein, was severe and/or pervasive

enough to make a reasonable person believe that the conditions of employment had been altered

and that a hostile work environment existed, and made Plaintiff believe that the conditions of

employment had been altered and that a hostile work environment existed.

99.     As a direct and proximate result of the retaliatory conduct of Defendants, Plaintiff has in

the past incurred, and may in the future incur, a loss of earnings and/or earning capacity, loss of

benefits, pain and suffering, embarrassment, humiliation, loss of self-esteem, mental anguish,

and loss of life's pleasures, the full extent of which is not known at this time.

100.    Defendants' acted with malice, reckless indifference, and/or deliberate indifference to

Plaintiff's protected rights.

101.    Despite Plaintiffs efforts to resolve the ongoing issues between herself and her
             Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 15 of 20



commanding officers, she continues to experience retaliation for assisting Officer Roseberry in

filing her sexual harassment complaint.

V.        COUNTS OF ACTION

                                               COUNT I
                                         Violations of Title VII

102.      Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

herein.

103.      By committing the foregoing acts of discrimination andretaliation against Plaintiff,

Defendant has violated Title VIL

104.      Said violations were done with malice and/or reckless indifference, and warrant the

imposition of punitive damages.

105.      As a direct and proximate result of Defendant's violation of Title VII, Plaintiff has

suffered the damages and losses set forth herein and has incurred attorneys' fees and costs.

106.      Plaintiff is now suffering and will continue to sufferirreparable injury and monetary

damages as a result of Defendant's discriminatory and retaliatory acts unless and until this

Court grants the relief requested herein.

107.      No previous application has been made for the reliefrequested herein.

                                              COUNT II
                                       Violation of Section 1983

108.      Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

herein.

109.      Defendants' retaliatory conduct, as set forth herein, deprived Plaintiff of equal protection

under the law as guaranteed by the Fourteenth Amendment of the United States Constitution.

110.      As a direct and proximate result of Defendants' acts and conduct which caused and
             Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 16 of 20



continue to cause Plaintiff to be denied equal protection under the law, Plaintiff has suffered and

will suffer those injuries, damages, and losses alleged herein and has incurred and will incur

attorneys' fees and costs.

111.      The wrongful acts and conduct of Defendants' were done with deliberate indifference to

the statutory and constitutional rights of Plaintiff.

                                             COUNT III
                        Violations of the Pennsylvania Human Relations Act

112.      Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

herein.

113.      Defendants', by the above improper and retaliatory acts, have violated the PHRA.

114.      Said violations were intentional and willful.

115.      As a direct and proximate result of Defendants' violation of the PHRA, Plaintiff has

sustained the injuries, damages, and losses set forth herein and has incurred attorneys' fees and

costs.

116.      Plaintiff is now suffering and will continue to suffer irreparable injuries and monetary

damages as a result of Defendants' retaliatory acts unless and until the Court grants the relief

requested herein.

117.      No previous application has been made for the reliefrequested herein.

                                           COUNT IV
                    Violations of the Philadelphia Fair Practices Ordinance

118.      Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

herein.

119.      Defendants' by the above improper and retaliatory acts, have violated the PFPO.

120.      Said violations were intentional and willful.
              Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 17 of 20



121.     As a direct and proximate result of Defendant's violation of the PFPO, Plaintiff has

sustained the injuries, damages, and losses set forth herein and has incurred attorneys' fees and

costs.

122.     Plaintiff is now suffering and will continue to suffer irreparable injuries and monetary

damages as a result of Defendants' retaliatory acts unless and until the Court grants the relief

requested herein.

123.     No previous application has been made for the reliefrequested herein.

VI.      PRAYERFORRELIEF

         WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection

with Defendants' improper conduct, and specifically prays that the Court grant the following

relief to the Plaintiff by:

         a)      declaring the acts and practices complained of herein to be in violation of Title

                 VII

         b)      declaring the acts and practices complained of herein to be in violation of

                 Section 1983;

         c)      declaring the acts and practices complained of herein to be in violation of the

                 PHRA;

         d)      declaring the acts and practices complained of herein to be in violation of the

                 PFPO; enjoining and permanently restraining the violations alleged herein;

         e)      entering judgment against the Defendants and in favor of the Plaintiff in an

                 amount to be determined; awarding compensatory damages to make the

                 Plaintiff whole for all lost earnings, earning capacity and benefits, past and

                 future, which Plaintiff has suffered or may suffer as a result of Defendants'
     Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 18 of 20



         improper conduct; awarding compensatory damages to Plaintiff for past and

         future pain and suffering, emotional upset, mental anguish, humiliation, and

         loss of life's pleasures, which Plaintiff has suffered or may suffer as a result of

         Defendants' improper conduct; awarding punitive damages to Plaintiff;

f)       awarding Plaintiff such other damages as are appropriate under Title VII,

         Section 1983, the PHRA and the PFPO;

g)       awarding Plaintiff, the costs of suit, expert fees and other disbursements, and

         reasonable attorneys' fees; and, granting such other and further relief as this

         Court may deem just, proper, or equitable including other equitable and

         injunctive relief providing restitution for past violations and preventing future

        violations.

                                             Respectfully Submitted,
          Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 19 of 20



WEISBERG LAW                                         SCHAFKOPF LAW, LLC
Matthew B. Weisberg                                  Gary Schafkopf
Attorney ID No. 85570                                Attorney ID No. 83362
L. Anthony DiJiacomo, III                            11 Bala Ave
Attorney ID No. 321356                               Bala Cynwyd, PA 19004
7 South Morton Ave. 19070                            610-664-5200 Ext 104
Morton, PA                                           Fax: 888-238-1334
610-690-0801                                         Attorney for Plaintiff
Fax: 610-690-0880
Attorneys for Plaintiff

MILDENBERG LAW FIRM
Brian R. Mildenberg
Attorney ID No. 84861
1735 Market Street, Ste. 3750
Philadelphia, PA 19103
Attorney for Plaintiff

                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

LATASHA STEVENS
8110 Lindberg Blvd
Philadelphia, PA 19153

                      Plaintiff,                    No.: 2:17-cv-04852-JD

                 v.

CITY OF PHILADELPHIA, et al.                        JURY TRIAL OF TWELVE (12)
1515 Arch St, 17th Floor                            JURORS DEMANDED
Philadelphia, PA 19102

                      Defendants.


                                   CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 2nct day of February, 2018, a

true and correct copy of the foregoing Plaintiffs First Amended Civil Action Complaint was

served via ECF upon the following party:
        Case 2:17-cv-04853-JD Document 12 Filed 02/05/18 Page 20 of 20



                             Joseph E. Randall, Esquire
                               Assistant City Solicitor
                               1515 Arch St., 16th Fl.
                              Philadelphia, PA 19102




          Vf.
M ~ w B. e~s~erg, Esquire .
L. thony Dp1acomo, III, Esqmre
            J
